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                                         UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                              WICHITA FALLS DIVISION

    IN RE:                                                                    §
                                                                              §
    HIGH PLAINS RADIO NETWORK,                                                §           CASE NO. 24-70089-swe11
    LLC,                                                                      §
         DEBTOR.                                                              §
                                                                              §

                                             NOTICE OF EXPEDITED HEARINGS

        Please take notice that an expedited hearing has been set for THURSDAY, APRIL 4,
 2024 AT 10:30 A.M. before the Honorable Scott W. Everett, United States Bankruptcy Judge
 regarding the matters referenced and described below.

        The hearing will be conducted via a hybrid format. Parties who will be offering
 evidence or participating in examination must make in-person appearances in Judge Everett's
 courtroom located at US Federal Courthouse, 1100 Commerce Street, 14th Floor, Courtroom #3,
 Dallas, TX 75242; other interested parties may make Webex appearances. Also, Debtor’s
 representative may appear by WebEx.

                   For WebEx Video Participation/Attendance:

                   https://us-courts.webex.com/meet/everett

                   For WebEx Telephonic Participation/Attendance:

                         Dial-In: 1-650-479-3207
                         Access Code: 476 420 189

   Filing Date                                                                    Docket Text


 04/01/2024
                            11       (29 pgs; 2 docs) Motion to use cash collateral Emergency Motion Filed by Debtor
                            High Plains Radio Network, LLC (Attachments: # 1 Proposed Order) (Carruth, Jeffery)

 04/02/2024                  12 (17 pgs; 2 docs) Emergency Motion to pay pre-petition debt-- Emergency Motion to
                            Pay Pre-Petition Wages Filed by Debtor High Plains Radio Network, LLC (Attachments:
                            # 1 Proposed Order) (Carruth, Jeffery)

 04/02/2024                  13 (16 pgs; 2 docs) Motion to maintain bank accounts. Filed by Debtor High Plains Radio
                            Network, LLC (Attachments: # 1 Proposed Order) (Carruth, Jeffery)




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    Dated: November 29, 2022                               Respectfully submitted:

                                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                           By:    /s/ Jeff Carruth
                                                              JEFF CARRUTH (TX SBN: 24001846)
                                                              2608 Hibernia, Suite 105
                                                              Dallas, TX 75204-2514
                                                              Telephone: (713) 341-1158
                                                              Fax: (713) 961-5341
                                                              E-mail: jcarruth@wkpz.com

                                                           PROPOSED ATTORNEYS FOR
                                                           HIGH PLAINS RADIO NETWORK, LLC,
                                                           DEBTOR AND DEBTOR IN POSSESSION


                                 CERTIFICATE OF SERVICE
 The undersigned hereby certifies that a true and correct copy of the foregoing was served on
 April 2, 2024 (1) by electronic notice to all ECF users who have appeared in this case to date,
 and/or as set forth below and (2) by regular mail to all parties appearing in the attached address
 list (i.e. mailing matrix).

 COPIES OF THE EXHIBITS WERE NOT SERVED BY REGULAR MAIL. PLEASE
 CONTACT THE UNDERSIGNED IF YOU WISH TO RECEIVE THE EXHIBITS.

                                                                              /s/Jeff Carruth
                                                                              Jeff Carruth




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                                                                ECF SERVICE LIST

 24-70089-swe11 Notice will be electronically mailed to:

 Jeffery D. Carruth on behalf of Debtor High Plains Radio Network, LLC
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;carruthjr87698@notify.bestcase.com;ATTY_CARRUTH@blue
 stylus.com

 Paul H. Cross on behalf of Creditor Hanmi Bank
 phclease@msn.com

 Julie Anne Parsons on behalf of Creditor Eastland County Appraisal District
 jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com

 Julie Anne Parsons on behalf of Creditor The County of Henderson, Texas
 jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com

 Julie Anne Parsons on behalf of Creditor The County of Stephens, Texas
 jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com

 Scott M. Seidel -SBRA V
 scott@scottseidel.com, csms11@trustesolutions.net;susan.seidel@earthlink.net

 United States Trustee
 ustpregion06.da.ecf@usdoj.gov




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                                                         Regular Mail List




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